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Exhibit 4
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DEEPWATER HORIZON
CLAIMS CENTER

ECONOMIC & PROPERTY DAMAGE CLAIMS

NOTICE OF BP APPEAL
DATE OF NOTICE: April 23, 2013

I. CLAIMANT AND CLAIM INFORMATION

. Last/Name of Business First Middle
Claimant Name ROCON INC
Claimant ID 100002412 Claim ID 1779
Claim Type Business Economic Loss
Law Firm E.J. Saad Law Firm

II. APPEAL PROCESS EXPLANATION: ISSUE APPEALED AND RELIEF REQUESTED

The Economic and Property Damages Settlement Agreement (“Settlement Agreement”) written by Class Counsel
and BP requires the Claims Administrator to designate an Appeals Coordinator to coordinate the Appeals Process.
This Notice is an official communication from the Appeals Coordinator and relates to the claim identified in Section
I. BP has timely filed an Appeal of this claim. The details of the Appeal are below.

Date of Appeal Appeal Reasor(s) BP Comment
Asserted by BP

As the basis for the appeal, BP states that it appears that
there are significant inconsistencies and anomalies in the
financial data provided by the claimant. BP requests that
04/22/2013 Calculation Error the inconsistencies be resolved and the claim re-
evaluated. In addition, there are a number of questions
and issues regarding trends and financial data that
impact the calculation and require resolution.

BP has requested that this claim be appealed to the Appeal Panel. Accordingly, any applicable payment cannot be
issued until the Appeal Process is complete. After the Appeals Process is complete, we will issue a Post-Appeal
Eligibility Notice reflecting the results of the Appeal.

The Award Amount listed in Section II of your Eligibility Notice includes the Compensation Amount listed on line 1,
any Risk Transfer Premium (“RTP”), and any Prior Payment Offset BP may have appealed one or more of the
following factors used to calculate your Award Amount: the Compensation Amount, RTP Multiplier, or Prior Payment
Offset. Either party may propose new values for each factor. If the parties cannot resolve the Appeal, the Appeal
Panel will choose a Compensation Amount, RTP Multiplier, and Prior Payment Offset from either party’s Final
Proposal as the final outcome of the claim.

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JNA AO AN EA Page 1 of 9 Claim ID: 1779
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III. APPEAL SCHEDULE: INITIAL AND FINAL PROPOSALS, COMPROMISE AMOUNTS

You and BP are the parties to this Appeal. The Appeals Process requires both parties to file Initial Proposals and
Final Proposals. Represented claimants and BP must submit the Initial and Final Proposals and any supporting
materials using the DWH Portal. Pro Se claimants may use the DWH Portal or may mail or email the documents to
the Appeals Coordinator. On your Initial Proposal Form and Final Proposal Form, enter the value you are proposing
as the new Compensation Amount, RTP Multiplier, and/or Prior Payment Offset for the claim. If you wish, you may
submit additional documentation supporting your claim. You may also submit a supporting memorandum with your
Initial Proposal Form. Either party may accept the other’s Initial Proposal. Either party may accept the other's Final
Proposal for five days after the issuance of the Final Proposals. Alternatively, you may negotiate with BP to reach a
compromise and submit the Compromise Form attached to this Notice of BP Appeal. If either party accepts the
other's Initial or Final Proposal, or you reach a compromise as to each factor at issue in this Appeal, the Appeal will
be closed and the claim will not proceed to the Appeal Panel.

If after five days from the issuance of the Final Proposals, neither party accepts the other’s Initial or Final Proposal,
and you do not reach a compromise, we will submit both parties’ Final Proposals, along with any supporting
memoranda, to a neutral Appeal Panel for review. You may reach a compromise at any time until the Appeal Panel
issues a decision on the claim. If the Appeal Panel issues a decision on this Appeal before you reach a compromise,
the decision of the Appeal Panel shall be the final decision on your claim.

The deadlines for submitting Appeal documents run from the date of this Notice of BP Appeal. If you do not submit
an Initial Proposal Form on or before your Deadline to Submit listed below, then the Compensation Amount listed on
the Eligibility Notice Section II line 1 shall be considered your Initial Proposal Compensation Amount; the RTP
Multiplier and Prior Payment Offset, if any, listed on your Eligibility Notice shall be considered your Initial Proposal
RTP Multiplier and Initial Proposal Prior Payment Offset. If you do not submit a Final Proposal Form on or before
your Deadline to Submit listed below, then your Initial Proposal shall be considered your Final Proposal.

Note: Your Initial Proposal, Final Proposal, and/or Compromise RTP Multiplier should not be a dollar amount, but
the factor to be multiplied by the Compensation Amount for certain claim types. The sum is the RTP and is added to
the Compensation Amount. Your Initial Proposal, Final Proposal and/or Compromise Compensation Amount should
be the new Compensation Amount you are proposing for your claim. The Settlement Agreement defines
Compensation Amount as the “amount awarded to the claimant prior to the addition of any RTP.” Accordingly, we
‘will increase any Compensation Amount by the applicable RTP, if any, and also decrease any Compensation Amount
by any applicable offsets. If we have received notice of any outstanding lien, we will also deduct that applicable
amount from your Award Amount.

All documentation and the applicable deadlines are listed below. If a deadline falls on a Saturday, Sunday or a
holiday, the deadline is extended to the next business day. Holidays are: New Year's Day, Martin Luther King, Jr.’s
Birthday, Washington’s Birthday, Memorial Day, Independence Day, Labor Day, Columbus Day, Veteran’s Day,
Thanksgiving Day, Christmas Day.

Appeal Document Deadline to Submit

Initial Proposal and optional supporting memoranda 05/08/2013

Acceptance of Initial Proposal (optional) Before Final Proposals are posted

Final Proposal 05/18/2013

Acceptance of Final Proposal (optional) Within 5 days after Final Proposals are posted
Compromise (optional) Before Appeal Panel decides

IV. CONTACT INFORMATION FOR PARTIES AND LEAD CLASS COUNSEL

Use BP’s contact information below if you wish to negotiate with BP to reach an independent compromise. Do not
send any forms to BP. You must send all documents to the Claims Administrator through the DWH Portal or
through one of the contact methods listed in Section VI, if you are a pro se claimant.

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VNU A AA A Page 2 of 9 Claim ID: 1779
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NAME EMAIL ADDRESS MAILING ADDRESS

Street

6207 Cottage Hill Road

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R. Keith Jarrett Liskow & Lewis
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Stephen J. Herman

Stephen J. Herman Herman Herman Katz & Cotlar,
Sherman@hhkc.com 820 O'Keefe Avenue, New Orleans, LA
70113
Lead Class Counsel James P. Roy James P. Roy

jimr@wrightroy.com Domengeaux Wright Roy & Edwards
gee: 556 Jefferson Street, Lafayette, LA 70502

Vv. HOW TO CONTACT US WITH QUESTIONS

For claimant questions about this Notice of BP Appeal or the status of your other claim(s), contact the Claimant
Communications Center at 1-800-353-1262 or send an email to Questions@dhecc.com. If you are a law firm or
claims preparation company, call or email your designated DWH Contact for help or assistance. You may also visit a
Claimant Assistance Center for help. For a complete list of Claimant Assistance Centers, go to
www.deepwaterhorizoneconomicsettlement.com.

VI. HOW TO RESPOND TO THIS NOTICE

Submit your Initial Proposal Form, Final Proposal Form, and Compromise Form online with any
accompanying documentation using your DWH Portal. If you do not use the DWH Portal, you may submit
documents in any of the following ways, but be sure to write your Claimant ID on the top page of all documents you
submit.

By Mail Deepwater Horizon Economic Claims Center

(Postmarked no later than your submission deadline) PO Box 1439

Hammond, LA 70404-1439

By Overnight, Certified or Registered Mail Deepwater Horizon Economic Claims Center
(If mail, postmarked no later than your submission deadline; | Claims Administrator

if other overnight delivery, placed in the custody of an 42548 Happy Woods Road

overnight carrier by your submission deadline) Hammond, LA 70403

By Facsimile

(Sent no later than 12:00 midnight local time on your (888) 524-1583

submission deadline)

By Email

(Sent no later than 12:00 midnight local time on your ClaimForms@deepwaterhorizoneconomicsettlement.com
submission deadline)

Visit a Claimant Assistance Center You may take the required information or documents to a
(Delivered no later than your submission deadline) Claimant Assistance Center.

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DEEPWATER HORIZON
CLAIMS CENTER

ECONOMIC & PROPERTY DAMAGE CLAIMS

INITIAL PROPOSAL FORM

DATE OF NOTICE OF BP APPEAL: April 23, 2013
DEADLINE TO SUBMIT INITIAL PROPOSAL FORM: May 8, 2013

I. CLAIMANT AND CLAIM INFORMATION

. Last/Name of Business First Middle
Claimant Name ROCON INC
Claimant ID 100002412 Claim ID 1779
Claim Type Business Economic Loss
Law Firm E.J. Saad Law Firm

II. INITIAL PROPOSAL AMOUNT

the Notice of BP Appeal.

Both parties must submit an Initial Proposal. Enter the value you are proposing as the new Compensation Amount,
RTP Multiplier, and/or Prior Payment Offset for the claim. Your Initial Proposal RTP Multiplier should not be a dollar
amount, but the factor to be multiplied by the Compensation Amount for certain claim types. The sum is the RTP
and is added to the Compensation Amount. Your Initial Proposal Compensation Amount should be the new
Compensation Amount you are proposing for the claim. The Settlement Agreement defines Compensation Amount
as the “amount awarded to the claimant prior to the addition of any RTP.” Accordingly, we will increase any
accepted Initial Proposal Compensation Amount by the applicable RTP, if any, and also decrease any accepted Initial
Proposal Compensation Amount by any applicable offsets. If we have received notice of any outstanding lien, we
will also deduct that applicable amount from the Award Amount. The Compensation Amount, RTP Multiplier, and/or
Prior Payment Offset listed on your Eligibility Notice will be considered your Initial Proposal for any field left blank.

If either party accepts the other’s Initial Proposal, the Appeals Process will end. If neither party accepts the other’s
Initial Proposal, and you do not reach a compromise, you must submit a Final Proposal within the deadline listed on

Amount

Initial Proposal Compensation

Initial Proposal
RTP Multiplier

Initial Proposal
Prior Payment Offset

III. CLAIMANT HOME STATE SELECTION

Select your home state. If you do not live in one of these five states, select the state where your injury occurred.

Printed Name

O Alabama O Florida O Louisiana O Mississippi O Texas
IV. SIGNATURE
: / /
Signature Date (Month/Day/Year)
Last Name First Name Middle Initial

Title (if a
business)

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Vv. HOW TO SUBMIT THIS FORM

submit this form in any of the following ways:

Submit your Initial Proposal Form online using the DWH Portal. If you do not use the DWH Portal, you may

By Mail
(Postmarked no later than your Initial Proposal deadline)

Deepwater Horizon Economic Claims Center
PO Box 1439
Hammond, LA 70404-1439

By Overnight, Certified or Registered Mail

(If mail, postmarked no later than your Initial Proposal deadline; if
other overnight delivery, placed in the custody of an overnight carrier
by your Initial Proposal Deadline)

Deepwater Horizon Economic Claims Center
Claims Administrator

42548 Happy Woods Road

Hammond, LA 70403

By Facsimile
(Sent no later than 12:00 midnight local time on your Initial Proposal
deadline)

(888) 524-1583

By Email
(Sent no later than 12:00 midnight local time on your Initial Proposal
deadline)

ClaimForms@deepwaterhorizoneconomicsettlement.com

Visit a Claimant Assistance Center
(Delivered no later than your Initial Proposal deadline)

You may take the required information or documents to a
Claimant Assistance Center.

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DEEPWATER HORIZON
CLAIMS CENTER

ECONOMIC & PROPERTY DAMAGE CLAIMS

FINAL PROPOSAL FORM

DATE OF NOTICE OF BP APPEAL: April 23, 2013
DEADLINE TO SUBMIT FINAL PROPOSAL FORM: May 18, 2013

I. CLAIMANT AND CLAIM INFORMATION

Last/Name of Business First Middle
Claimant Name

ROCON INC
Claimant ID 100002412 Claim ID 1779
Claim Type Business Economic Loss
Law Firm E.J. Saad Law Firm

II. FINAL PROPOSAL AMOUNT

Both parties must submit a Final Proposal. Enter the value you are proposing as the new Compensation Amount,
RTP Multiplier, and/or Prior Payment Offset for the claim. Your Initial Proposal RTP Multiplier should not be a dollar
amount, but the factor to be multiplied by the Compensation Amount for certain claim types. The sum is the RTP
and is added to the Compensation Amount. Your Final Proposal Compensation Amount should be the new
Compensation Amount you are proposing for the claim. The Settlement Agreement defines Compensation Amount
as the “amount awarded to the claimant prior to the addition of any RTP.” Accordingly, we will increase any
accepted Final Proposal Compensation Amount by the applicable RTP, if any, and also decrease any accepted Final
Proposal Compensation Amount by any applicable offsets. If we have received notice of any outstanding lien, we
will also deduct that applicable amount from the Award Amount.

If either party accepts the other’s Final Proposal, the Appeals Process will end. If your Final Proposal Compensation
Amount, RTP Multiplier, and Prior Payment Offset are the same as the opposing party's, the Claims Administrator
will consider that you have reached an agreement, and the Appeals Process will end. If after five days from the
issuance of the Final Proposals, neither party accepts the other’s Final Proposal, and you do not reach a
compromise, we will submit both parties’ Final Proposals, along with any supporting memoranda, to a neutral
Appeal Panel for review. The Appeal Panel will choose a Compensation Amount, RTP Multiplier, and Prior Payment
Offset from either party’s Final Proposal as the final outcome of the claim.

Final Proposal Compensation
Amount

Final Proposal
Risk Transfer Premium

Final Proposal
Prior Payment Offset

III. SIGNATURE

/ /
Date (Month/Day/Year)

Signature

Last Name First Name Middle Initial

Printed Name

Title (ifa
business)

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Iv. HOW TO SUBMIT THIS FORM

Submit your Final Proposal Form online using the DWH Portal. If you do not use the DWH Portal, you may submit
documents in any of the following ways, but be sure to write your Claimant ID on the top page of all documents you

submit.

By Mail
(Postmarked no later than your Final Proposal deadline)

Deepwater Horizon Economic Claims Center
PO Box 1439
Hammond, LA 70404-1439

By Overnight, Certified or Registered Mail

(If mail, postmarked no later than your Final Proposal deadline; if
other overnight delivery, placed in the custody of an overnight carrier
by your Final Proposal Deadline)

Deepwater Horizon Economic Claims Center
Claims Administrator

42548 Happy Woods Road

Hammond, LA 70403

By Facsimile
(Sent no later than 12:00 midnight local time on your Final Proposal
deadline)

(888) 524-1583

By Email
(Sent no later than 12:00 midnight local time on your Final Proposal
deadline)

ClaimForms@deepwaterhorizoneconomicsettlement.com

Visit a Claimant Assistance Center
(Delivered no later than your Final Proposal deadline)

You may take the required information or documents to a
Claimant Assistance Center.

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DEEPWATER HORIZON
CLAIMS CENTER

ECONOMIC & PROPERTY DAMAGE CLAIMS

COMPROMISE FORM
DATE OF NOTICE OF BP APPEAL: April 23, 2013

I. CLAIMANT AND CLAIM INFORMATION

. Last/Name of Business First Middle
Claimant Name ROCON INC
Claimant ID 100002412 Claim ID 1779
Claim Type Business Economic Loss
Law Firm E.J. Saad Law Firm

II. COMPROMISE AMOUNT

If both parties have agreed on the Compensation Amount, RTP, and Prior Payment Offset for this claim, you must
both submit this Compromise Form. Your Compromise Compensation Amount should be the new Compensation
Amount you are proposing for the claim. The Settlement Agreement defines Compensation Amount as the “amount
awarded to the claimant prior to the addition of any RTP.” Accordingly, we will increase any Compromise
Compensation Amount by the applicable RTP, if any, and also decrease any Compromise Compensation Amount by
any applicable offsets. If we have received notice of any outstanding lien, we will also deduct that applicable
amount from the Award Amount. If your Compromise Compensation Amount, RTP Multiplier, and Prior Payment
Offset are the same as the opposing party’s, the Appeals Process will end.

Compromise Compensation
Amount
Compromise Risk Transfer
Premium
Compromise
Prior Payment Offset
III. SIGNATURE
; / /
Signature Date (Month/Day/Year)
Last Name First Name Middle Initial

Printed Name

Title (if a
business)

IV. HOW TO SUBMIT THIS FORM

Submit your Compromise Form online using the DWH Portal. If you do not use the DWH Portal, you may submit
documents in any of the following ways, but be sure to write your Claimant ID on the top page of all documents you
submit.

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Deepwater Horizon Economic Claims Center
By Mail PO Box 1439
Hammond, LA 70404-1439

Deepwater Horizon Economic Claims Center
Claims Administrator

By Overnight, Certified or Registered Mail 42548 Happy Woods Road
Hammond, LA 70403
By Facsimile (888) 524-1583
By Email ClaimForms@deepwaterhorizoneconomicsettlement.com

You may take the required information or documents to a

Visit a Claimant Assistance Center Claimant Assistance Center.

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